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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                                 Case No. 4:12-cr-00180-BLW
                      Plaintiff,
                                                 MEMORANDUM DECISION AND
        v.                                       ORDER

 SHYLOH BECKER,

                      Defendant.


                                    INTRODUCTION

       The Court has before it Defendant’s Motion to Transfer Venue (Dkt. 87). For the

reasons explained below, the Court will deny the motion.

                                        ANALYSIS

       Based upon the representations of counsel, the Court understands that all

defendants in this case except Shyloh Becker have reached plea agreements with the

Government or will be dismissed from the case. Accordingly, only Shyloh Becker will

proceed to trial. Defendant Shyloh Becker asks the Court to transfer venue to the District

of Oregon.

       Federal Rule of Criminal Procedure 21(b) states that “[u]pon a defendant’s

motion, the court may transfer the proceeding . . . against that defendant to another

district for the convenience of the parties, any victim, and the witnesses, and in the

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interest of justice.” Fed. R. Crim. P. 21(b). Determination of a Rule 21(b) motion to

transfer “involves the sound discretion of the trial court.” U.S. v. Testa, 548 F.2d 847, 856

(9th Cir. 1977). Courts should consider the following factors when deciding a motion to

change venue: “(a) location of the defendants; (b) location of the possible witnesses; (c)

location of the events likely to be at issue; (d) location of relevant documents and

records; (e) potential for disruption of the defendants’ businesses if transfer is denied; (f)

expenses to be incurred by the parties if transfer is denied; (g) location of defense

counsel; (h) relative accessibility of the place of trial; (i) docket conditions of each

potential district; and (j) any other special circumstance that might bear on the

desirability of transfer.” U.S. v. Maldonado-Rivera, 922 F.2d 934, 966 (2nd Cir. 1990)

(citing Platt v. Minnesota Mining & Manufacturing Co., 376 U.S. 240, 243–44 (1964)).

None of these considerations are dispositive. Id. Instead, the court must “try to strike a

balance and determine which factors are of greatest importance.” Id. Some degree of

inconvenience is inevitable, and the Court must consider both the defendant’s and the

government’s inconvenience. Testa,548 F.2d at 856.

       In this case, most of the factors either do not tilt the scale in favor or against

transfer, or they are irrelevant. For example, between the Government and the defendant,

several witnesses from both Idaho and Oregon will be called to testify. Additionally,

evidence of events likely to be at issue during trial will relate to both Idaho and Oregon.

Relative accessibility of the place of trial will be better for some and worse for others in

each district. Additional expenses will be incurred by the defendant, who lives in Oregon,

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if she is required to travel to Idaho for trial, but additional expenses will be incurred by

the Government, Government counsel and defense counsel if the trial is moved to

Oregon. Moreover, the defendant gives no indication that she has a business which will

be disrupted if she is forced to be tried in Idaho.

       However, several factors weigh in favor of retaining the case in Idaho. First,

according to the Government, although the case is not document intensive, the relevant

documents are in Idaho. Second, both defense counsel and the prosecutor reside in Idaho.

Finally, this matter has been pending in the District of Idaho since July 2012. Because of

the complexity of the case, the Court continued the trial date, and has worked with

counsel to find a trial date which works for all involved. Moving the trial to the District

of Oregon at this point will only delay the trial and inconvenience the District of Oregon.

       Accordingly, although trying the case in Idaho will cause some inconvenience for

the defendant, when weighed against all the other factors suggesting the case should

remain in Idaho, the Court finds that the interests of justice require the case remain in the

District of Idaho. Accordingly, the Court will deny the motion.

                                           ORDER

       IT IS ORDERED:

       1.     Defendant’s Motion to Transfer Venue (Dkt. 87) is DENIED.




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                                       DATED: May 21, 2013


                                       _________________________
                                       B. Lynn Winmill
                                       Chief Judge
                                       United States District Court




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